Case 8:17-cv-00618-SDM-MAP Document 78 Filed 12/14/17 Page 1 of 15 PageID 1232



                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION



    CENTER FOR BIOLOGICAL
    DIVERSITY, et al.,

          Plaintiffs,

    v.                                                  CASE NO. 8:17-cv-618-T-23MAP

    U.S. ARMY CORPS
    OF ENGINEERS, et al.,

          Defendants.
    ____________________________________/


                                           ORDER

          In 2010, a predecessor of Mosaic Fertilizer applied to the Army Corps of

    Engineers for a Clean Water Act (CWA) permit and proposed to mine phosphatic

    rock on several thousand acres in Hardee County. Six years later, the Corps issued a

    permit for the mine, which the parties call the “South Pasture Extension” (SPE)

    mine. Suing (Doc. 1) under the National Environmental Policy Act (NEPA), the

    Endangered Species Act (ESA), the CWA, and the Administrative Procedure Act

    (APA), and claiming that the Corps acted arbitrarily and capriciously, the plaintiffs

    request the invalidation of the SPE permit. The plaintiffs move (Doc. 61) for

    summary judgment and assert a dozen arguments for invalidating the permit. Also,
Case 8:17-cv-00618-SDM-MAP Document 78 Filed 12/14/17 Page 2 of 15 PageID 1233



    Mosaic and the federal-government defendants move (Docs. 73 and 74) for summary

    judgment and argue that the permitting process comports with the applicable law.1

                                      STANDARD OF REVIEW

           Exceedingly deferential to an agency’s decision, the judiciary invalidates a

    decision only if the agency acted arbitrarily and capriciously. Fund for Animals, Inc. v.

    Rice, 85 F.3d 535, 541–42 (11th Cir. 1996) (applying 5 U.S.C. § 706). An agency acts

    arbitrarily and capriciously, for example, if the agency relies on an impermissible

    factor, if the agency fails to consider an important aspect of an issue, if the

    administrative record belies the agency’s explanation for a decision, or if the agency’s

    explanation for a decision “is so implausible that [the decision] could not be ascribed

    to a difference in view or [] agency expertise.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v.

    State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43–44 (1983). The Eleventh Circuit

    describes Section 706 of the APA as subjecting an agency’s decision to a “rationality”

    review. Miccosukee Tribe of Indians of Florida v. United States, 566 F.3d 1257, 1264

    (11th Cir. 2009) (citing Sierra Club v. Van Antwerp, 526 F.3d 1353, 1359–60 (11th Cir.

    2009)).

                                              DISCUSSION

    1. Motion to supplement the administrative record

           The plaintiffs move (Doc. 62) to append to the administrative record a series of

    e-mails (Doc. 62-5) between Hardee County resident Brooks Armstrong and an


           1
               A March 31, 2017 order (Doc. 33) grants Mosaic’s motion to intervene as a defendant.

                                                    -2-
Case 8:17-cv-00618-SDM-MAP Document 78 Filed 12/14/17 Page 3 of 15 PageID 1234



    employee of the Corps. In the e-mails, Armstrong never mentions by name the

    proposed SPE mine but expresses several concerns about phosphate mining and the

    fertilizer industry. The plaintiffs argue for the inclusion of the e-mails in the

    administrative record “because it appears the agency relied on, or should have relied

    on,” the e-mails. (Doc. 62 at 8)

           Section 706 of the APA requires a district court to review the administrative

    record. Preserve Endangered Areas of Cobb’s History, Inc. v. U.S. Army Corps of Eng’rs,

    87 F.3d 1242, 1246 (11th Cir. 1996) (“The focal point for judicial review of an

    administrative agency’s action should be the administrative record.”). Because an

    agency uniquely knows the content of the record the agency considered in deciding

    an issue, the judiciary defers to an agency’s certification of the administrative record

    and permits supplementing the administrative record only if the plaintiff initially

    shows “strong [evidence] of bad faith or improper behavior” in the agency’s

    production of the administrative record. Alabama-Tombigbee Rivers Coal. v.

    Kempthorne, 477 F.3d 1250, 1262 (11th Cir. 2007) (citing Citizens to Preserve Overton

    Park, Inc. v. Volpe, 401 U.S. 402, 420 (1971)).2

           In this action, the custodian of the administrative record for the Corps and for

    the Fish & Wildlife Service certified under oath that each agency respectively filed


           2
             Dicta in Preserve Endangered Areas of Cobb’s History mentions four circumstances in which the
    Ninth Circuit permits the district court to “go beyond the administrative record.” 87 F.3d at 1246 n.2
    (citing Animal Def. Council v. Hodel, 840 F.2d 1432 (9th Cir. 1988)). However, the result in this
    instance remains the same if Animal Defense Council states the law in the Eleventh Circuit (but no
    Eleventh Circuit decision so holds) because none of the circumstances that in the Ninth Circuit
    warrant supplementing the administrative record appear in this action.

                                                    -3-
Case 8:17-cv-00618-SDM-MAP Document 78 Filed 12/14/17 Page 4 of 15 PageID 1235



    the “complete administrative record.” (Docs. 48-1 and 49-1) Because the plaintiffs

    show nothing approaching the bad faith or improper behavior necessary to

    supplement the administrative record,3 the plaintiffs’ motion (Doc. 62) to supplement

    the administrative record is DENIED.4

    2. The plaintiffs’ motion for summary judgment

           A. Failure to conduct a “site-specific” Environmental Impact
           Statement (EIS)

           NEPA requires an agency to “take a hard look” at the environmental impact

    of a proposed action but imposes on the agency no substantive obligation to preserve

    the environment. Robertson v. Methow Valley Citizens Council, 409 U.S. 332, 350–51

    (1989) (“NEPA merely prohibits uninformed — rather than unwise — agency

    action.”). Under NEPA, a federal action (which includes the issuance of a CWA

    permit) that “significant[ly]” impacts the environment requires an Environmental

    Impact Statement (EIS). An agency may prepare an environmental assessment to

    determine whether a proposed action warrants an EIS. If the environmental

    assessment finds no “significant” impact on the environment, the agency need not

    prepare an EIS. Sierra Club v. U.S. Army Corps of Engineers, 295 F.3d 1209, 1214–16

    (11th Cir. 2002) (explaining the NEPA procedure). The parties agree that the SPE


           3
              Even if the plaintiffs showed a glaring omission in the administrative record submitted to
    the district court, Overton Park explains the remedy for an inadequate administrative record: “The
    court may require the administrative officials who participated in the decision to give testimony
    explaining their action.” 401 U.S. at 420.
           4
             In any event, the e-mails fail to alter the conclusion that the Corps and the Fish & Wildlife
    Service complied with the applicable law.

                                                     -4-
Case 8:17-cv-00618-SDM-MAP Document 78 Filed 12/14/17 Page 5 of 15 PageID 1236



    mine, which affects 7,513 acres in Hardee County (including more than a thousand

    acres of wetlands), significantly impacts the environment and requires an EIS.

           The plaintiffs contend that the Corps failed to prepare a “site-specific” EIS, but

    the administrative record shows that the Corps prepared a 700-page EIS, which

    discusses at length the environmental impact of the proposed SPE mine.5 Although

    the EIS discusses four proposed mines (the SPE, Ona, Wingate, and DeSoto mines),

    40 C.F.R. § 1508.25 permits an agency to discuss several proposals in a single EIS if

    the proposals are “similar” or “closely related.” The Corps concluded that the four

    mines “have similarities that provide a basis for evaluating [the four mines’] direct,

    indirect, and cumulative environmental impacts in a single Areawide Environmental

    Impact Statement” (AR_0250103), and the plaintiffs submit no challenge to that

    conclusion.6

           B. Unlawfully narrow “need statement”

           Before approving a proposal, an agency must consider reasonable alternatives;

    the suitability of an alternative depends on the project’s purpose, which the agency

    defines. The Corps defined the SPE mine’s purpose as providing 3.37 million metric

    tons of phosphatic rock annually for the South Pasture beneficiation plant. According

    to the plaintiffs, the Corps’ identification of 3.37 million metric tons as the project’s


           5
               (AR_0250285–0251005)
           6
             Also, the plaintiffs argue that the Corps issued the Record of Decision (ROD) before the
    EIS, but the Corps approved the ROD on November 10, 2016 (AR_0287182), three years after the
    April 2013 EIS and five months after a supplemental assessment in which the Corps concluded that
    updated information from Mosaic about the proposed SPE mine warranted no new EIS.

                                                   -5-
Case 8:17-cv-00618-SDM-MAP Document 78 Filed 12/14/17 Page 6 of 15 PageID 1237



    purpose preordained the rejection of any alternative “that did not guarantee the

    extraction of that exact amount of phosphate.” (Doc. 61 at 26)

          The plaintiffs show nothing arbitrary and capricious about the Corps’

    definition of the project’s need. The South Pasture mine supplies the nearby South

    Pasture beneficiation plant with phosphatic rock for the moment, and Mosaic plans

    to supply the plant with phosphatic rock from the SPE mine after exhausting the

    South Pasture mine. Because the South Pasture beneficiation plant can process 3.5

    million metric tons annually, Mosaic aspired to mine that amount. The Corps

    initially reduced the SPE mine’s need to 3.43 million metric tons, the South Pasture

    mine’s average output from 2010 through 2014. (AR_0275355) The Corps

    eventually settled on 3.37 million metric tons annually, which the Corps identified as

    the “most conservative value for the project-specific need.” (AR_0275355) In other

    words, the administrative record shows that the Corps rationally defined the project’s

    need as the amount of phosphatic rock necessary to supply the South Pasture

    beneficiation plant.

          C. Failure to consider phosphogypsum stacks

          Fertilizer producers in Florida often store the weakly radioactive by-product of

    fertilizer production in phosphogypsum stacks, which both the EPA and the State of

    Florida regulate. The plaintiffs argue that the Corps failed to consider the effects of

    the phosphogypsum stacks on the environment and on public health. (Doc. 61 at 23)

    The defendants respond persuasively (Doc. 65 at 8–9 and Doc. 65 at 10–11) that the



                                              -6-
Case 8:17-cv-00618-SDM-MAP Document 78 Filed 12/14/17 Page 7 of 15 PageID 1238



    Corps’ jurisdiction excludes consideration of phosphogypsum stacks in this instance,

    that a phosphogypsum stack is “independent” from the proposed SPE mine,7 and

    that the Corps considered the effects of the by-product where required. Again, the

    plaintiffs fail to identify anything arbitrary and capricious about the Corps’ treatment

    of the phosphogypsum stacks.

           D. Failure to select a “least environmentally damaging practicable
           alternative”

           40 C.F.R. § 230.10 prohibits an agency’s permitting a discharge of dredged or

    fill materials if a practicable alternative causes less harm to the environment. Under

    40 C.F.R. § 230.10(a)(2), the practicability of an alternative depends partially on the

    “cost, existing technology, and logistics” of the alternative. The plaintiffs challenge

    as arbitrary and capricious the Corps’ exclusion of an alternative that contemplated

    mining phosphatic rock more than ten miles from the South Pasture beneficiation

    plant. According to the plaintiffs, the exclusion of an alternative more than ten miles

    from the beneficiation plant “predetermined the results of the LEDPA analysis and

    precluded analysis of alternatives involving imported rock.” (Doc. 61 at 28)

           In the EIS, the Corps cogently explained the impracticability of a

    phosphatic-rock mine more than ten miles from the South Pasture beneficiation

    plant. (AR_250403–08) To move phosphatic rock from a mine to a beneficiation


           7
               Although significantly less costly to mine phosphatic rock locally than to import phosphate
    mined outside Florida, a fertilizer plant can use imported phosphate to produce fertilizer. Because
    Mosaic’s fertilizer plants will produce the by-product even if the SPE mine supplies no phosphate
    (that is, a fertilizer plant will use imported phosphate), the Corps’ conclusion that the by-product is
    “independent”from the proposed SPE mine is rational.

                                                     -7-
Case 8:17-cv-00618-SDM-MAP Document 78 Filed 12/14/17 Page 8 of 15 PageID 1239



    plant, the miner mixes the rock with water, which creates a dense “slurry” laden with

    natural clays and other materials indigenous to the earth, and the miner pumps the

    slurry through a pipeline. The miner must position a million-dollar pump about

    every mile along the pipeline to prevent the slurry from “settling to the bottom and

    choking the pipeline.” (AR_250404–05) The cost of equipment, maintenance, and

    power for the pipeline increases exponentially as the length of the pipeline increases.

    Citing the “costs and logistics” of transporting phosphatic rock from a distant mine to

    the South Pasture beneficiation plant, Mosaic explained to the Corps (and the Corps

    verified) that a mine more than ten miles from the plant would prove commercially

    impracticable. The plaintiffs identify nothing arbitrary and capricious about the

    Corps’ exclusion of a phosphatic-rock mine more than ten miles from the

    beneficiation plant.

          Also, the plaintiffs claim that the Corps failed to investigate the practicability

    of importing phosphatic rock to supply the South Pasture beneficiation plant.

    (Doc. 61 at 28–29) Because of the “significant logistical and cost impediments” to

    importing phosphatic rock from outside central Florida, the Corps considered and

    rejected as impracticable the importation of phosphatic rock from either another

    region of the United States or from abroad. (AR_250391–93) The Corps found that

    “all phosphate rock currently mined in the U.S. is being utilized” (AR_250393), and

    the Corps concluded that importing phosphatic rock from Africa or South America

    decisively and prohibitively increases the cost of producing fertilizer and other



                                              -8-
Case 8:17-cv-00618-SDM-MAP Document 78 Filed 12/14/17 Page 9 of 15 PageID 1240



    phosphoric products. That conclusion appears at least rational (and perhaps

    obvious). Again, the plaintiffs identify nothing arbitrary and capricious about the

    Corps’ conclusion that the costs of, and the risks attendant to, importing rock from

    abroad renders importation impracticable in this instance.

           E. Failure to consider the reasonably foreseeable detriments of
           fertilizer

           33 C.F.R. § 320.4(a)(1) requires the Corps to weigh the reasonably foreseeable

    benefits of a proposal against the reasonably foreseeable detriments in deciding

    whether to issue a CWA permit. Citing three pages of the administrative record

    (287152, 287153, and 250785), the plaintiffs claim that the Corps considered the

    reasonably foreseeable benefits of fertilizer but failed to consider the reasonably

    foreseeable detriments.8 (Doc. 61 at 30) None of the pages supports the plaintiffs’

    claims. Although the pages mention the economic benefits of the SPE mine, nothing

    on those pages appears to weigh the benefits of the fertilizer industry generally. As

    Mosaic observes, “the SPE mine — and not the fertilizer industry as a whole — was

    the basis of the project benefits that the Corps identified.” (Doc. 65 at 12)

           F. Failure to comply with the “Compensatory Mitigation Rule”

           The plaintiffs claim several violations of the Compensatory Mitigation Rule,

    40 C.F.R. § 230.93, which requires an applicant to mitigate the unavoidable effects of


           8
             Rule 56(c)(1) requires that a movant cite “particular parts of materials in the record” to
    support an argument. Also, Section 706 requires the judiciary to review either the entire record or
    “those parts of [the administrative record] cited by a party.” In this instance, the size of this
    administrative record —more than 316,000 pages—precludes the judiciary’s reviewing the entire
    record.

                                                     -9-
Case 8:17-cv-00618-SDM-MAP Document 78 Filed 12/14/17 Page 10 of 15 PageID 1241



     a proposed action through “restoration, enhancement, establishment, and in certain

     circumstances preservation” of wetlands. Sometimes called the “no-net-loss rule,”

     Section 230.93(f)(1) requires an applicant to offset each acre of affected wetlands by

     restoring, enhancing, establishing, or preserving an acre of wetlands.

           The plaintiffs argue that the Corps erred by failing to “require a one-to-one

     ratio of mitigation through wetland[s] preservation.” (Doc. 61 at 19–20) But the

     plaintiffs misconceive and misstate the rule, which provides that restoration “should

     generally be the first option considered” by the Corps but imposes no inflexible duty

     on an applicant to “restore” or to “preserve” an acre of wetlands in mitigation. As

     explained above, 40 C.F.R. § 230.93(a)(2) permits mitigation through “restoration,

     enhancement, establishment, and in certain circumstances preservation.” The

     plaintiffs acknowledge that the CWA permit requires Mosaic to offset 1,198.17 acres

     of affected wetlands through the establishment, preservation, or restoration of 2,526.3

     acres of wetlands. (Doc. 61 at n.15) By requiring the mitigation of more than twice

     the acreage affected by the proposed SPE mine,9 the permit amply satisfies the

     “no-net-loss” requirement.

           Also, the plaintiffs argue that the Corps failed to consider the “uncertainties

     and risks” inherent in wetlands restoration. But Chapter Five of the EIS describes

     the state of scientific knowledge about wetlands reclamation and observes that

     advances in wetlands-reclamation practices have rendered recent restoration efforts



           9
               AR_287415.

                                              - 10 -
Case 8:17-cv-00618-SDM-MAP Document 78 Filed 12/14/17 Page 11 of 15 PageID 1242



     more successful than earlier efforts. And Baltimore Gas & Elec. Co. v. Nat. Res. Def.

     Council, 462 U.S. 87, 102–03 (1983), states that a scientific prediction “at the frontiers

     of science” commands more deference than another finding of fact by the agency.

     Additionally, the plaintiffs argue that the Corps “failed to take into account the

     applicant’s record of non-compliance with its existing mitigation at the adjacent

     South Pasture Mine.” (Doc. 61 at 21) Although a handful of documents suggest

     Mosaic’s infrequent non-compliance with mitigation required by another permit,10

     other documents show that Mosaic more often than not successfully mitigated

     wetlands impacts.11 In sum, the Corps’ decision to issue the CWA permit appears

     rational and consequently merits deference.

           G. Failure to hold a public hearing

        The plaintiffs argue that the Corps arbitrarily and capriciously denied several

     requests for a public hearing. (Doc. 61 at 33) As Fund for Animals explains,

     33 C.F.R. § 327.4 affords the Corps discretion in deciding whether to hold a hearing.

     85 F.3d at 545. If the Corps concludes that a public hearing would add neither new

     information nor a new perspective to the decision-making process, the Corps may

     deny the request for a hearing.

           The Corps held several public hearings on the proposed SPE mine and

     accepted public comments on several occasions. Concluding that another public



           10
                For example, AR_263031–32.
           11
                For example, AR_290799–866.

                                               - 11 -
Case 8:17-cv-00618-SDM-MAP Document 78 Filed 12/14/17 Page 12 of 15 PageID 1243



     hearing would merely re-hash issues resolved by the EIS, an addendum to the EIS,

     and the supplemental environmental assessment, the Corps denied the requests for a

     public hearing. (AR_287128–29) The plaintiffs’ motion for summary judgment

     identifies no new information or perspective that warranted another hearing. See

     Fund for Animals, 85 F.3d at 546 (finding nothing arbitrary about the Corps’ denial of

     a request for public hearing where the administrative record included “voluminous

     information” from wildlife organizations and where the plaintiffs failed to identify

     any new information that warranted another public hearing).

            H. Violations of the Endangered Species Act

            Under the ESA, a federal agency must consult with the Secretary of the

     Interior12 to determine whether a proposed action likely will jeopardize an

     endangered or threatened species or the species’ habitat. To determine whether a

     proposed action affects an endangered species, the Fish & Wildlife Service prepares

     an “environmental baseline,” which comprises the “past and present impacts of all

     Federal, State, or private actions and other human activities in the area” and the

     “anticipated impacts of all proposed Federal projects in the action area which are

     contemporaneous with the consultation in process.” 50 C.F.R. § 402.02.




            12
               Under 50 C.F.R. § 402.02, the Secretary delegates the duty to prepare a biological opinion
     to the Fish & Wildlife Service.

                                                    - 12 -
Case 8:17-cv-00618-SDM-MAP Document 78 Filed 12/14/17 Page 13 of 15 PageID 1244



             The plaintiffs claim several violations of the ESA.13 First, the plaintiffs argue

     that the Fish & Wildlife Service’s failure to account for the proposed DeSoto, Ona,

     and Wingate East mines impermissibly taints the environmental baseline for the

     proposed SPE mine. (Doc. 61 at 36) But 50 C.F.R. § 402.02 requires that the Fish &

     Wildlife Service include in the environmental baseline only a proposed federal action

     that “ha[s] already undergone formal or early section 7 consultation.” When the

     Fish & Wildlife Service issued the biological opinion for the proposed SPE mine on

     June 9, 2014, neither the DeSoto nor the Ona mine proposals “ha[d] already

     undergone” consultation.14 And the Corps explains that the “action areas of the

     relevant species for Wingate East did not overlap with the corresponding action areas

     for the SPE project.” (Doc. 66 at 19) The Corps and the Fish & Wildlife Service

     rationally excluded the other proposed mines from the environmental baseline of the

     proposed SPE mine.

             Second, the plaintiffs claim that the Fish & Wildlife Service mis-characterized

     the permanent destruction of some unspecified species’ habitat as “temporary.”

     (Doc. 61 at 25–26) But the Fish & Wildlife Service observed that Mosaic’s

     reclamation efforts would adequately restore the affected land (and in some instances




             13
               The plaintiffs claim that the EIS “is a ‘programmatic level’ action that requires its own
     consultation” (Doc. 61 at 35), but as explained in Section 2A of this order, the EIS specifically
     discusses the proposed SPE mine.
             14
              The plaintiffs claim that the failure to include the other mines in the biological opinion for
     the SPE mine “leaves impacts on species entirely unconsidered” (Doc. 61 at 36), but the
     environmental baseline for another proposed mine in the same area must include the SPE mine.

                                                      - 13 -
Case 8:17-cv-00618-SDM-MAP Document 78 Filed 12/14/17 Page 14 of 15 PageID 1245



     would improve the land’s suitability for habitation by a threatened or endangered

     species).15 (FWS_22199, 22200, 22201)

             Third, the plaintiffs argue that the Fish & Wildlife Service failed to quantify

     “take” for several specifies.16 For example, the plaintiffs claim that the ESA requires

     the Fish & Wildlife Service to specify the number of eastern indigo snakes and wood

     storks subject to harassment from the construction or operation of the SPE mine. But

     the ESA requires the Fish & Wildlife Service to quantify “take” if practicable. See

     Miccosukee Tribe of Indians, 566 F.3d at 1274–75. The Fish & Wildlife Service

     identified several characteristics of the eastern indigo snake’s habitat and behavior

     that preclude quantifying the “take” from harassment. (AR_263527) Also, the Fish

     & Wildlife Service found that the wood stork’s usage of the SPE mine “is limited”

     and that “harassment would be insignificant or discountable.” (FWS_22255) Again,

     the plaintiffs fail to show that the Fish & Wildlife Service or the Corps acted

     arbitrarily and capriciously.17




             15
               Also, the plaintiffs claim that the Fish & Wildlife Service failed to use the “best scientific
     and commercial data available” (Doc. 61 at 37–38) but fail to identify any superior data on which
     the Fish & Wildlife Service purportedly should have relied.
             16
               16 U.S.C. § 1532 defines to “take” as to “harass, harm, pursue, hunt, shoot, wound, kill,
     trap, capture, or collect, or to attempt to engage in any such conduct.”
             17
               Also, the plaintiffs argue that the Fish & Wildlife Service failed to set an adequate “trigger”
     and that purportedly new information required the Fish & Wildlife Service to update the biological
     opinion. The defendants respond (Doc. 65 at 21–24 and Doc. 66 at 22–24) persuasively and refute
     those arguments.

                                                       - 14 -
Case 8:17-cv-00618-SDM-MAP Document 78 Filed 12/14/17 Page 15 of 15 PageID 1246



                                       CONCLUSION

           For the reasons explained above and for the reasons in the defendants’

     responses (Docs. 65 and 66) in opposition to summary judgment, the plaintiffs fail to

     show arbitrary and capricious action. The plaintiffs’ motion (Doc. 61) for summary

     judgment is DENIED. The defendants’ motions (Docs. 73 and 74) for summary

     judgment are GRANTED, and the clerk is directed to enter judgment for the

     defendants and against the plaintiffs. After entering judgment, the clerk must close

     the case.

           ORDERED in Tampa, Florida, on December 14, 2017.




                                             - 15 -
